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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
                                                             :
SYNTEL STERLING BEST SHORES                                  :
MAURITIUS LIMITED, et al.,                                   :
                                                             :   15 Civ. 211 (LGS)
              Plaintiffs/Counterclaim-Defendants, :
                                                             :       ORDER
                           -against-                         :
                                                             :
THE TRIZETTO GROUP, et al.,                                  :
                                                             :
              Defendants/Counterclaim-Plaintiffs. :
------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

          It is ORDERED that Plaintiffs/Counterclaim-Defendants Syntel Sterling Best Shores

Mauritius Limited and Syntel, Inc.’s (together, “Syntel”) evidentiary objections to the following

trial exhibits of Defendants/Counterclaim-Plaintiffs The TriZetto Group, Inc. and Cognizant

Technology Solutions Corp. (together, “TriZetto”) are overruled for substantially the reasons

stated by TriZetto: DTX-0256.002; DTX-0258.0009 to .0028; DTX-0275; DTX-0277. It is

further

          ORDERED that Syntel’s evidentiary objections to the following TriZetto trial exhibits

are sustained for substantially the reasons stated by Syntel: DTX-0485; DTX-0490; DTX-0491.

It is further

          ORDERED that for the reasons stated at today’s telephonic status conference, the

following Syntel trial exhibits are admitted: PTX-199-200; PTX 205; PTX 206; PTX 685.

Accordingly, TriZetto’s motion in limine No. 6 (Dkt. No. 710) and application maintaining the

objections to the transition rebates evidence (Dkt. No. 890) are DENIED. It is further
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       ORDERED that by end of today, the parties shall meet and confer on the stipulation to

moot Syntel’s breach of contract claim regarding transition rebates and shall file a jointly

proposed stipulation of facts. The stipulation may reference the date TriZetto agreed to pay and

the date of payment. Assuming TriZetto still wants to proceed, the parties shall submit today the

proposed stipulation and any disputes about its precise wording, and the Court will rule on them.

If TriZetto does not wish to proceed on these terms, it shall file a letter with the Court

immediately so stating.

       The Clerk of Court is respectfully directed to correct the docket entry at Dkt. No. 864,

which incorrectly states that the motion in limine at Dkt. No. 710 was granted. Instead, the

docket entry should read “ORDER (Defendants’ MIL 6) regarding 710 Motion in Limine.”


Dated: October 16, 2020
       New York, New York




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